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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8   GEORGE P. KARDA,

 9                              Plaintiff,                 Case No. C22-1402-RSM

10          v.                                             ORDER GRANTING APPLICATION
                                                           TO PROCEED IN FORMA PAUPERIS
11   SEATTLE POLICE DEPARTMENT, et al.,

12                              Defendants.

13

14          Because Plaintiff does not appear to have funds available to afford the $402.00 filing fee,

15   Plaintiff financially qualifies for in forma pauperis (IFP) status pursuant to 28 U.S.C.

16   § 1915(a)(1). Therefore, Plaintiff’s IFP application, Dkt. 1, is GRANTED. However, the

17   undersigned recommends review by the assigned District Judge under 28 U.S.C.

18   § 1915(e)(2)(B). The Clerk is directed to send copies of this Order to the parties and to the

19   assigned District Judge.

20          Dated this 4th day of October, 2022.

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23
                                                           A
                                                           S. KATE VAUGHAN
                                                           United States Magistrate Judge

     ORDER GRANTING APPLICATION TO
     PROCEED IN FORMA PAUPERIS - 1
